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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                  NORTHERN DIVISION
                                    AT COVINGTON
                                Criminal Minutes-Sentencing

         Cov.Cr. 20-3-S-DLB-CJS          at COVINGTON                          2/8/2022

         U.S. vs. DAVID SOWARD                          X Present          X Custody

         PRESENT: HON. DAVID L. BUNNING, JUDGE

         Lynn Voskuhl                  Lisa Wiesman            Elaine Leonhard
         Deputy Clerk                  Court Reporter          Assistant U.S. Attorney

         Steven Howe
         Attorney for Defendant                         X Present        X Appointed

  The victim in this case has been notified of this hearing.

  Defendant shall pay restitution to the victim identified as “Henley” in ¶ 17 of the PSR in
  the amount of $3,000.00

  X No objections to the PSR that require adjudication.

  X Court’s Advice of Right to Appeal shall be filed in the record.

  X Judgment shall be entered (See Judgment and Commitment).

  X Defendant remanded to the U.S. Marshal Service pending the designation by the Bureau of
  Prisons.




  cc: USA,USPO,USM,COR                                                Initials of Deputy Clerk: lv


TIC       15
